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12                           UNITED STATES DISTRICT COURT

13                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

14   UNITED STATES OF AMERICA,             ED CR No. 17-00278-MWF

15              Plaintiff,                 GOVERNMENT’S PROPOSED VOIR DIRE
                                           QUESTIONS
16                   v.
                                           Trial Date:     May 10, 2022
17   CHRISTOPHER LLOYD BURNELL,            Trial Time:     8:30 a.m.
                                           Location:       Courtroom of the Hon.
18              Defendant.                                 Michael W. Fitzgerald
19

20         Plaintiff United States of America, by and through its counsel
21   of record, the United States Attorney for the Central District of
22   California and Assistant United States Attorneys Jerry C. Yang and
23   Robert S. Trisotto, submits its proposed voir dire questions and
24   respectfully requests that the Court ask or permit the attorneys to
25   ask these voir dire questions during jury selection.
26   ///
27   ///
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 2   Dated: April 21, 2022                Respectfully submitted,

 3                                        TRACY L. WILKISON
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 4
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 5                                        Assistant United States Attorney
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 6
                                                /s/
 7                                        JERRY C. YANG
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 1                    GOVERNMENT’S PROPOSED VOIR DIRE QUESTIONS

 2   I.    CHARGES

 3         1.    The defendant is charged with wire fraud and filing false

 4   income tax returns with the Internal Revenue Service (“IRS”).            Is

 5   there anything about the nature of the crimes charged that makes you

 6   unwilling or reluctant to serve as a juror?

 7         2.    Do you have any feelings that the type of crimes charged in

 8   this case should not be prosecuted or should be prosecuted more

 9   vigorously?

10   II.   TAX LAW AND THE IRS

11         3.    Does anyone believe that the tax laws of the United States

12   are unconstitutional or should not be enforced?

13         4.    Does anyone have any personal or philosophical views or

14   feelings about the collection of taxes by the United States or the

15   Internal Revenue Service?

16               a.   If so, please describe those views or feelings.

17               b.   Would your views or feelings impair your ability to

18   render a fair and impartial verdict in this case?

19         5.    Have you, a family member, or a close friend studied the

20   Internal Revenue Code or any other of the tax laws of the United

21   States?

22         6.    Have you, a family friend, or a close friend worked in the

23   field of tax return preparation or as a certified public accountant

24   or “CPA”?

25         7.    Have you, a family member, or a close friend ever been

26   employed by, or worked closely with, the IRS?

27         8.    Have you, a family member, or a close friend been under

28   criminal investigation by the IRS or a state taxing agency?
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 1                a.   If so, do you feel that you/they were treated fairly

 2   by the IRS?

 3                b.   Was the matter resolved satisfactorily and fairly in

 4   your opinion?

 5         9.     Have you, a family member, or a close friend been subject

 6   to an IRS audit or other civil examination by the IRS or a state

 7   taxing agency?

 8                a.   If so, do you feel that you/they were treated fairly

 9   by the IRS?

10                b.   Was the matter resolved satisfactorily and fairly in

11   your opinion?

12         10.    Have you, a family member, or a close friend ever been

13   associated with a group or organization which advocates for the

14   revision or abolition of the tax laws of the United States or of any

15   state?

16   III. FRAUD

17         11.    Have you, a family member, or a close friend, ever been

18   accused of committing fraud?

19                a.   If so, can you explain?

20                b.   Do you feel that you/they were treated fairly?

21                c.   Was the matter resolved satisfactorily and fairly in

22   your opinion?

23         12.    Have you, a family member, or a close friend ever been the

24   victim of fraud?

25                a.   If so, can you explain?

26                b.   Was the matter resolved satisfactorily and fairly in

27   your opinion?

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 1                c.   Is there anything about your/their experience that

 2   would prevent you from being fair and impartial in this case?

 3   IV.    EXPERIENCE WITH JUDICIAL SYSTEM

 4          13.   Have you, a family member, or a close friend ever been a

 5   victim of any crime other than fraud?

 6                a.   If yes, please explain briefly.

 7                b.   Were you satisfied or dissatisfied with the way

 8   you/they were treated by law enforcement officials and the judicial

 9   system?

10                c.   Would you be able to put those feelings and

11   experiences aside and render a verdict based on the evidence before

12   you?

13          14.   Have you, a family member, or a close friend ever been

14   arrested or convicted of a criminal offense?

15                a.   If yes, please explain briefly.

16                b.   Is there anything about your/their experience that

17   would prevent you from being fair and impartial in this case?

18          15.   Have you, a family member, or a close friend ever been

19   sentenced to or served time in jail or prison?

20                a.   If yes, please explain briefly.

21                b.   Is there anything about your/their experience that

22   would prevent you from being fair and impartial in this case?

23          16.   Have you, a family member, or close friend ever been a

24   party to a lawsuit or had to go to court for any reason other than

25   jury service?

26                a.   If yes, please explain briefly.

27                b.   Was there anything you did not like about that

28   experience?
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 1          17.   Have you served on a jury?

 2                a.   If yes, were you the jury foreperson?

 3                b.   Did the jury you served on reach a verdict?

 4                c.   Did you serve on a criminal or civil case?

 5   V.     EXPERIENCE WITH LAW ENFORCEMENT

 6          18.   This case was investigated by the Internal Revenue Service

 7   – Criminal Investigation.      Have you, a family member, or a close

 8   friend had any experiences, positive or negative, with the Internal

 9   Revenue Service – Criminal Investigation?

10                a.   If yes, what was the nature of that experience?

11                b.   Would you be able to put those feelings and

12   experiences aside and render a verdict based on the evidence before

13   you?

14          19.   Have you, a family member, or a close friend had any

15   experiences with local, state, or federal law enforcement other than

16   the Internal Revenue Service – Criminal Investigation that left you

17   with strong feelings, good or bad, about law enforcement officers?

18                a.   If yes, what was the nature of that experience?

19                b.   Would you be able to put those feelings and

20   experiences aside and render a verdict based on the evidence before

21   you?

22          20.   Have you, a family member, and/or a close friend ever

23   worked for a law enforcement agency?        Is there anything about that

24   work which would prevent you from being a fair juror in this case?

25          21.   Would you be able to assess charges against a former law

26   enforcement officer without giving either more weight to the charges,

27   or less weight to the charges, because of the fact that the defendant

28   is a former deputy sheriff?
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 1   VI.   PUNISHMENT AND SYMPATHY

 2         22.   The potential punishments for the offenses charged are a

 3   matter that should never be considered by the jury in any way in

 4   arriving at an impartial verdict as to the guilt or innocence of the

 5   accused.    Will you be able to conduct your duties as jurors in this

 6   case without speculating about or being influenced in any way by

 7   whatever punishment may or may not be imposed in this case?

 8         23.   There are some people who, for moral, ethical, religious,

 9   or other personal reasons, may find it difficult or uncomfortable to

10   pass judgment on the conduct of others.        Do you hold such beliefs or

11   might you be affected by such beliefs?

12   VII. JURY DELIBERATIONS AND THE COURT’S INSTRUCTIONS

13         24.   If you are selected as a juror in this case, will you be

14   able to discuss the evidence presented with your fellow jurors?

15         25.   Regardless of your personal feelings about any issue that

16   may arise in this case, will you follow the law as the Court gives it

17   to you during this case?

18         26.   If you are selected as a juror in this case, you will be

19   required to deliberate with eleven other jurors.          Is there anything

20   that leads you to believe that you might be unable or unwilling to

21   engage in such discussions with others?

22         27.   Knowing what you now know about this case, do you have any

23   reservation about your ability to hear the evidence, deliberate, and

24   return a fair and impartial verdict?

25         28.   Do you have any difficulty with your language skills,

26   hearing or sight, or have any medical problems that could impair your

27   ability to devote your full attention to this trial?

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 1   VIII. KNOWLEDGE OF POTENTIAL WITNESSES

 2         29.   Do you know or are you familiar with any of the following

 3   individuals, who may be witnesses in this case?          (The Court is

 4   respectfully requested to read the government’s and defendant’s

 5   witness lists.)

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